Case 2:94-cr-00163-RBS Document 1166 Filed 12/14/21 Page 1 of 12 PageID# 1898




                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA

                                          Norfolk Division

UNITED STATES OF AMERICA                      )
                                              )         Criminal No. 2:94cr163
                 v.                           )
                                              )
ROBERT BRUCE GILLINS,                         )
                                              )
                        Defendant.            )


                      UNITED STATES’ RESPONSE TO DEFENDANT’S
                          MOTION FOR A REDUCED SENTENCE
                       PURSUANT TO THE FIRST STEP ACT OF 2018

          Defendant seeks to lower his sentence under § 404 of the First Step Act, which extends

the Fair Sentencing Act of 2010 to defendants who were sentenced before August 3, 2010.

Defendant was convicted, after a guilty plea, of Operating a Continuing Criminal Enterprise, in

violation of 21 U.S.C. § 848(a) and (c), and Money Laundering, in violation of 18 U.S.C. §

1956(a)(1)(B)(i) and 2. During the sentencing phase of the defendant’s case, he was held

accountable for over 958.6 kilograms of crack cocaine. See PSR at p. 61. The offense involved

vastly more crack cocaine than 280 grams, the new quantity threshold made retroactive by the

Fair Sentencing Act, and the statutory maximum remains life and the current guidelines would

yield a guideline range of life imprisonment. Had the Fair Sentencing Act been applied at his

sentencing, his resulting sentence would not have been different, and his motion should be

denied.

          As discussed below, defendant’s statutory penalty range should not change. And as to

his guideline range, even today, the 958.6 kilograms or more of crack cocaine distributed during

the conspiracy would give defendant a base offense level of 38 under the guidelines that

                                                  1
Case 2:94-cr-00163-RBS Document 1166 Filed 12/14/21 Page 2 of 12 PageID# 1899




implement the Fair Sentencing Act. Defendant would still receive a two-point enhancement for

possessing a firearm, a four-point enhancement for his leadership role, and a two-point increase

for obstruction of justice. Furthermore, the PSR makes clear that the defendant engaged in

violent activities in the execution of this conspiracy. The defendant was one of twenty-one

individuals indicted in a massive multi-state drug conspiracy that lasted from 1989-1994. See

PSR at ⁋1, 24. The conspiracy was established in part by the defendant and was a major cocaine

and crack distribution organization that stretched from New York, NY, to Miami, FL, an

included many points in between, including but not limited to, Philadelphia, Baltimore,

Charlotte, Columbia, SC, and Richmond, VA. See id at ⁋27. The conspiracy organized by the

defendant was violent. It used murder, assaults, beatings, shootings, arson, and abduction to

further the aims of the conspiracy. See id. at ⁋26. For instance, in August 1991, defendant and

several other co-conspirators assaulted and beat a co-defendant for the loss of $180,000 of the

drug organization’s money, including holding the co-conspirator at gunpoint. See id. at 54. In

February 1992, the defendant and another co-conspirator held another individual at gunpoint and

shot him in the chest. See id. at ⁋64. In April 1992, defendant shot an informant who provided

information on a member of defendant’s drug organization. See id. at ⁋70. On October 17,

1992, at the direction of the defendant, a co-conspirator shot and killed Alvin Baker in retaliation

for burning defendant’s Lexus. See id. at ⁋83. Earlier, defendant caused another person to be

shot, erroneously believing the victim in that shooting was Alvin Baker. See id. at ⁋82. The

PSR further details the methods of illegal drug distribution employed by the defendant’s

organization.




                                                 2
Case 2:94-cr-00163-RBS Document 1166 Filed 12/14/21 Page 3 of 12 PageID# 1900




       For the reasons discussed below, this Court should deny defendant’s motion for a

sentence reduction. Under Terry v. United States, –S. Ct.–, 2021 WL 2405145 (U.S. June 14,

2021) defendant can no longer establish that he has a “covered offense” under § 404(a).

Furthermore, even if the defendant were eligible for a reduction, his record of violence in

furtherance of the drug distribution conspiracy is sufficient for this Court to refuse to reduce his

sentence.

II.    Analysis

       1.      Defendant’s offense under 21 U.S.C. § 848(a) and (c) is not a covered offense
               under § 404 of the First Step Act.

       The Supreme Court recently abrogated the Fourth Circuit’s precedent interpreting the

definition of a covered offense under § 404(c) of the First Step Act, see Terry v. United States, –

S. Ct.–, 2021 WL 2405145 (U.S. June 14, 2021), and Terry’s analysis has implications for

whether an offense under 21 U.S.C. § 848(a) and (c) qualifies as a covered offense.

       Section 404(a) defines a “covered offense” as “a violation of a Federal criminal statute,

the statutory penalties for which were modified by section 2 or 3 of the Fair Sentencing Act of

2010, that was committed before August 3, 2010.” § 404(a), 132 Stat. 5222 (citation omitted).

The Fourth Circuit has held that “[t]he most natural reading of the First Step Act’s definition of

‘covered offense’ is that ‘the statutory penalties for which were modified by [certain sections of

the Fair Sentencing Act]’ refers to ‘a Federal criminal statute’ rather than ‘a violation of a

Federal criminal statute.’” United States v. Wirsing, 943 F.3d 175, 185 (4th Cir. 2019). Wirsing

concluded that “[b]ecause ‘Federal criminal statute’ appears closer to ‘statutory penalties for

which’ than does ‘violation,’ it is more natural to attach ‘penalties’ to ‘statute’ than to

‘violation.’” Id.



                                                  3
Case 2:94-cr-00163-RBS Document 1166 Filed 12/14/21 Page 4 of 12 PageID# 1901




       In United States v. Woodson, 962 F.3d 812 (4th Cir. 2020), the Fourth Circuit applied

Wirsing and concluded that a crack offense under 21 U.S.C. § 841(b)(1)(C) is a “covered

offense.” To conclude that a crack offense under § 841(b)(1)(C) counts as a covered offense,

that court took into account the entire penalty scheme appearing in 21 U.S.C. § 841(b)(1), rather

than evaluating the Fair Sentencing Act’s effect on the statutory penalties for a § 841(b)(1)(C)

violation.

       But the Supreme Court rejected the doctrinal framework. Disagreeing with the reasoning

of Wirsing, the Supreme Court held that in § 404(a), “‘statutory penalties’ references the entire,

integrated phrase ‘a violation of a Federal criminal statute.’” Terry, 2021 WL 2405145, at *4

(citing United States v. Jones, 962 F.3d 1290, 1298 (11th Cir. 2020)). The Supreme Court

continued that the full phrase “means ‘offense,’” and “[w]e thus ask whether the Fair Sentencing

Act modified the statutory penalties for petitioner’s offense.” Id.

       Applying that standard, the Supreme Court held that a crack offense under 21 U.S.C. §

841(b)(1)(C) is not a covered offense, abrogating Woodson. As the Supreme Court explained,

the Fair Sentencing Act did not modify the statutory penalties for a crack offense under §

841(b)(1)(C). The Court continued that both before and after the Fair Sentencing Act, the

statutory penalties for a crack offense under § 841(b)(1)(C) remained the same—0 to 20 years

imprisonment, a fine of up to $1 million, or both, and a period of supervised release. Terry,

2021 WL 2405145 at *4.

       In contrast, the Fair Sentencing Act did modify the “statutory penalties” for a crack

offense under §§ 841(a), (b)(1)(A)(iii) and §§ 841(a), (b)(1)(B)(iii), provisions that trigger higher

mandatory minimums and higher statutory maximums depending on the quantity of crack

cocaine involved. “The Fair Sentencing Act plainly ‘modified’ the ‘statutory penalties’ for those


                                                 4
Case 2:94-cr-00163-RBS Document 1166 Filed 12/14/21 Page 5 of 12 PageID# 1902




[offenses]. It did so by increasing the triggering quantities from 50 grams to 280 grams in

subparagraph (A) and from 5 grams to 28 in subparagraph (B).” These changes are in turn

reflected in the elements for those offenses. Terry, 2021 WL 2405145 at *5. “But no statutory

penalty changed for subparagraph (C) offenders.” Id.

       In deciding that a crack offense under § 841(b)(1)(C) is not a covered offense, the

Supreme Court rejected that a defendant could claim that a crack offense under § 841(b)(1)(C) is

a covered offense by arguing that the Fair Sentencing Act modified the “penalty statute” or

“penalty scheme.” The Supreme Court explained that the definition of a covered offense in §

404(a) “directs our focus to the statutory penalties for petitioner’s offense, not the statute or

statutory scheme.” Terry, 2021 WL 2405145 at *5. Moreover, the Court added, “[e]ven if the

‘penalty statute’ or ‘penalty scheme’ were the proper focus, neither was modified for

subparagraph (C) offenders,” for even offenders with greater than 5 or 50 grams of crack could

have charged and prosecuted under subparagraph (C). Id. It “defies common parlance,” the

Court concluded, “to say that altering a different provision modified subparagraph (C). If

Congress abolished the crime of possession with intent to distribute, prosecutors would have to

bring charges under the lesser included offense of simple possession. But nobody would say that

abolishing the first offense changed the second.” Id.

       The Supreme Court’s reasoning in Terry shows that defendant’s offense under 21 U.S.C.

§ 848(a) and (c) is not a covered offense. In determining whether an offense is a covered offense

under § 404(a) of the First Step Act, Terry held that a court must determine “whether the Fair

Sentencing Act modified the statutory penalties for petitioner’s offense.” Terry, 2021 WL

2405145 at *4. But because the statutory penalty range for a violation of 21 U.S.C. § 848(a) and

(c) remains the same before and after the Fair Sentencing Act—20 years to life imprisonment, a


                                                   5
Case 2:94-cr-00163-RBS Document 1166 Filed 12/14/21 Page 6 of 12 PageID# 1903




fine, and a term of supervised release—defendant’s offense is not a covered offense under § 404.

Nothing that the Fair Sentencing Act modified the statutory penalty range for an offense under §

848(a) and (c), the prerequisite that Terry requires for an offense to fall under § 404(a). Terry is

also clear that a crime is not a “covered offense” merely because some aspect of the overarching

statutory scheme, governing other offenses, was modified by the Fair Sentencing Act. Instead,

the analysis turns on whether the statutory penalty range was changed for the defendant’s actual

offense of conviction—and here, that approach forecloses relief.

       The statutory text of § 848(a) and (c) confirms this point because nothing in that text was

modified by the Fair Sentencing Act, and in particular, reflecting the absence of any change to

the text of § 848(a) and (c), the Fair Sentencing Act did not alter the statutory penalty range in §

848(a). Indeed, nothing in § 848(a) and (c) even differentiates between an offense that involved

crack cocaine and other controlled substances—just like § 841(b)(1)(C). And when crack

cocaine is involved in an offense under § 848(a) and (c), the statutory penalty range does not

change—again just like § 841(b)(1)(C).

       The definition of a continuing criminal enterprise is set forth in 21 U.S.C. § 848(c):

       For purposes of subsection (a), a person is engaged in a continuing criminal enterprise if--

       (1) he violates any provision of this subchapter or subchapter II the punishment for which
       is a felony, and
       (2) such violation is a part of a continuing series of violations of this subchapter or
       subchapter II--
                (A) which are undertaken by such person in concert with five or more other
                persons with respect to whom such person occupies a position of organizer, a
                supervisory position, or any other position of management, and
                (B) from which such person obtains substantial income or resources.

       The Fourth Circuit has explained that the elements of an offense under 21 U.S.C. §

848(a) and (c), and those elements do not alter the statutory penalty range depending on whether

crack was involved, much less alter the statutory penalty range depending on the quantity of

                                                  6
Case 2:94-cr-00163-RBS Document 1166 Filed 12/14/21 Page 7 of 12 PageID# 1904




crack involved. See, e.g., United States v. Stewart, 256 F.3d 231, 254 (4th Cir. 2001); United

States v. Hall, 93 F.3d 126, 129 (4th Cir. 1996), abrogated on other grounds by Richardson v.

United States, 526 U.S. 813 (1999); United States v. Heater, 63 F.3d 311, 316–17 (4th Cir.

1995); United States v. Ricks, 882 F.3d 885, 890–91 (4th Cir. 1989).

       The elements of an offense under § 848(a) and (c) are as follows:

       (1) the defendant committed a felony violation of the federal drug laws; (2) such violation

       was part of a continuing series of violations of the drug laws; (3) the series of violations

       were undertaken by the defendant in concert with five or more persons; (4) the defendant

       served as an organizer or supervisor, or in another management capacity with respect to

       these other persons; and (5) the defendant derived substantial income or resources from

       the continuing series of violations.

Stewart, 256 F.3d at 254.

       In short, a defendant is not exposed to a penalty range that is greater than 20 years to life

depending on whether the offense involved crack or involved more than 5 or 50 grams of crack.

Under Terry, that is the end of the inquiry.

       Defendant makes several arguments that cannot be reconciled with Terry. First, he points

out that the requirements in § 848(c) could be satisfied by proving crack offenses that are

deemed covered offenses under § 404. But this argument overlooks that the statutory penalty

range for § 848(a) and (c) does not change depending on whether a crack offense falls under §

841(b)(1)(C) or § 841(b)(1)(A) or (B). As Terry notes, a subsection (A) or (B) crack offense

could be charged under subsection (C), and if it were, for purposes of § 848(c), nothing would be

different. Literally every covered offense that might be used to prove a violation under § 848(c)

could equally be proven by substituting the lesser included offense of a violation of §


                                                 7
Case 2:94-cr-00163-RBS Document 1166 Filed 12/14/21 Page 8 of 12 PageID# 1905




841(b)(1)(C), which Terry holds is not a covered offense, and nothing would change for the §

848(a) and (c) offense. These points simply reinforce the straightforward conclusion that the

Fair Sentencing Act does not alter the statutory penalty range for a § 848(a) and (c) offense.

       Although the government must prove a series of violations of the federal drug laws, and

the Fair Sentencing Act did modify some of the statutory penalty ranges for certain crack

offenses, the Fair Sentencing Act simply did not modify the statutory penalty range for § 848(a)

and (c) offense. As the Supreme Court explained, § 404(a) “directs our focus to the statutory

penalties for petitioner’s offense, not the statute or statutory scheme.” Terry, 2021 WL 2405145

at *5. Defendant’s leading argument cannot be sustained under Terry.

       Next, defendant argues that he could have been subject to the mandatory life sentence

under § 848(b), and he contends that an offense covered by § 848(b) should be deemed to qualify

as a covered offense under § 404(a). Section 848(b) requires proof that, among other things,

“the violation referred to in subsection (c)(1) involved at least 300 times the quantity of a

substance described in subsection 841(b)(1)(B) of this title.”

       The central problem with this argument is that defendant did not receive a mandatory life

sentence, and § 848(b) did not apply to him. Even assuming that an offense under § 848(b)

would be deemed a covered offense because the Fair Sentencing Act modified the quantity of

crack needed to satisfy § 841(b)(1)(B), the Supreme Court in Terry requires courts to examine

which offense a defendant was convicted of committing. Just as the bare fact that

§ 841(b)(1)(B)(iii) is a covered offense does not make the lesser-included offense of

§ 841(b)(1)(C) a covered offense, so too treating an § 848(b) offense as a covered offense does

not make an offense under § 848(a) and (c) a covered offense. The “integrated phrase ‘a

violation of a Federal criminal statute’ … means ‘offense,’” and hence, courts “ask whether the


                                                  8
Case 2:94-cr-00163-RBS Document 1166 Filed 12/14/21 Page 9 of 12 PageID# 1906




Fair Sentencing Act modified the statutory penalties for [the defendant’s] offense.” Terry, 2021

WL 2405145 at *4. Likewise, § 404(a) “directs our focus to the statutory penalties for

petitioner’s offense, not the statute or statutory scheme.” Terry, 2021 WL 2405145 at *5.

        The focus on distinct offenses under § 848 is reflected in the precedent from courts of

appeals even before Terry. Courts of appeals have correctly held, for example, that a drug-

related murder under 21 U.S.C. § 848(e)(1)(A) is not a covered offense. See, e.g., United States

v. Fletcher, 997 F.3d 95 (2d Cir. 2021); United States v. Snow, 967 F.3d 563 (6th Cir. 2020) (per

curiam); United States v. Roane, 2020 WL 6370984 (E.D. Va. Oct. 29, 2020) (unpublished); cf.

Johnson v. United States, 141 S. Ct. 1233 (2021) (denying stay of execution for defendant who

argued that § 848(e)(1)(A) offense is covered offense under § 848(e)(1)(A)); United States v.

Johnson, 838 F. App’x 765 (4th Cir. 2021) (denying petition for rehearing en banc for stay of

execution raising whether defendant’s § 848(e)(1)(A) offense is a covered offense). Under

Terry, the conclusions in those cases about murder offenses under § 848(e)(1)(A) should not

change even if a violation of § 848(a) and (c)—or a violation of § 848(b)—were deemed a

covered offense. The Supreme Court’s ruling in Terry compels that each offense under a statute

be analyzed separately, and as Terry illustrates, different elements yield different offenses.

        The defendant also invokes some filings the government has made in other cases that

predated Terry and that do not dispute that an § 848(a) and (c) offense is a covered offense. But

the Executive Branch, as much as this Court, must take into account the opinions of the Supreme

Court in applying the laws of the United States, and as explained above, Terry alters the analysis

here.

        Courts have generally been generous in allowing parties to modify their positions in light

of intervening precedent, Joseph v. United States, 135 S. Ct. 705, 706 (2014) (Kagan, J.,


                                                 9
Case 2:94-cr-00163-RBS Document 1166 Filed 12/14/21 Page 10 of 12 PageID# 1907




 statement respecting denial of certiorari) (collecting authority of courts of appeals that “accepts

 supplemental or substitute briefs as a matter of course when this Court issues a decision that

 upsets precedent relevant to a pending case and thereby provides an appellate with a new theory

 or claim”); the United States never acquiesced in this case in the view that § 848(a) and (c)

 offenses are covered offenses, United States v. Vonn, 535 U.S. 55, 58 n.1 (2002); and any

 broader theory of estoppel against the government would make no sense here, New Hampshire v.

 Maine, 532 U.S. 742, 755–56 (2001).

        2.      Even if the defendant’s offenses of conviction were covered under the First
                Step Act, relief would be inappropriate given the defendant’s history.

        Finally, this Court in its discretion should deny relief. Under § 404, this Court is not

required to reduce defendant’s sentence even if this Court concludes that he has a covered

offense. Section 404(b) states that the court that sentenced a defendant “may” impose a reduced

sentence as if the Fair Sentencing Act had been in place. And § 404(c) strongly reinforces the

breadth of this Court’s discretion. Section 404(c) provides, “Nothing in this section shall be

construed to require a court to reduce any sentence pursuant to this section.” The defendant’s

extensive leadership in a massive drug distribution organization that lasted some four years and

resulted in murders, shootings, arsons, beatings, abductions and other violent conduct should

disqualify him from receiving relief. While the government notes the defendant has taken steps

to rehabilitate himself during his incarceration, the fact remains that his leadership of this drug

organization cost people their lives. The defendant personally shot people, held them at gunpoint

and ordered others to murder on his behalf. As such, this defendant’s sentence should not be

reduced.

        For the reasons stated above, this Court should deny defendant’s motion for a sentence

 reduction and should do so without a hearing.

                                                  10
Case 2:94-cr-00163-RBS Document 1166 Filed 12/14/21 Page 11 of 12 PageID# 1908




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                                      11
Case 2:94-cr-00163-RBS Document 1166 Filed 12/14/21 Page 12 of 12 PageID# 1909




                                 CERTIFICATE OF SERVICE

I hereby certify that on the 14th day of December, 2021, I electronically filed the foregoing with
the Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF)
to all counsel of record.



                                                 /s/
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                                               12
